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June 24, 2025

BY ECF

The Honorable Alvin K. Hellerstein
United States District Court
Southern District of New York

500 Pearl Street

New York, New York 10007

Re: United States v. Charlie Javice and Olivier Amar,
23 Cr. 251 (AKH)

Dear Judge Hellerstein:

We write on behalf of Olivier Amar, whose sentencing hearing in the above-referenced
matter is scheduled for July 23, 2025. Mr. Amar respectfully requests that the hearing be adjourned
until August 26, 2025, at 11:00 AM, the same time as his co-defendant Charlie Javice. The
Government does not oppose this request.!

Mr. Amar requests this short adjournment due to personal circumstances. Mr. Amar’s 20-
year-old son, Roey, currently serves in the Israeli Defense Forces. Roey had arranged his once-
annual leave so that he could be in the United States for Mr. Amar’s July 23 sentencing. Roey’s
leave had to be temporarily postponed, however, due to the escalating conflict. Mr. Amat’s hope
is that his son will be able to attend his sentencing in August.

Respectfully yours,

‘si Alexandria FE. Swette
Alexandria E. Swette

Counsel for Defendant Olivier Amar

' Counsel for Mr. Amar have discussed the request with Probation and do not expect them to oppose.

AMERICAS (NEW YoRK, DELAWARE, MIAMI, SAN FRANCISCO, SAG PAULO, WASHINGTON DC)
APAC (HoNG Kowa, SEQUEL, SHANGHAI}, CARIBBEAN (AVI, CAYMAN ISLANDS), EMEA (Cyprus, Oupal, LONDON, TEL Aviv}

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